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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA                                                                 FILED
                                                                                                 FEB 13 2017
                                                                                               KATE BARKMAN, Clerk
                                                                                             By           Dep. Clerk


     (In the space above enter the full name(s) of the plaintiff(s).)


                            - against -




(In the space above enter the full name(s) of the defendant(s). Ifyou
cannot fit the names of all of the defendants in the space provided,
please write "see attached" in the space above and attach an
additional sheet ofpaper with the full list of names. The names
listed in the above caption must be identical to those contained in
Part I. Addresses should not be included here.)

I.          Parties in this complaint:

A.          List your name, address and telephone number. If you are presently in custody, include your identification
            number and the name and address of your current place of confinement. Do the same for any additional
            plaintiffs named. Attach additional sheets of paper as necessary.


Plaintiff           Name
                    Street Address
                    County, City
                     State & Zip Code
                    Telephone Number



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B.                                  List all defendants. You should state the full name of the defendants, even ifthat defendant is a government
                                    agency, an organization, a corporation, or an individual. Include the address where each defendant can be
                                    served. Make sure that the defendant(s) listed below are identical to those contained in the above caption.


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                                                                  County, City
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Defendant No. 2                                                   N~Ci.lisb &a ce ph=-<"bo ltzev
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                                                                  county, City :-,,~cUca
                                                                  State & Zip Code       =
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Defendant No. 3                                                   Name       \(r:nn~e:-m CXLu~
                                                                  Street Address     Lott:) ::UM...DSh ~p l 1                    a        ~Ja d
                                                                  County,City        ~ vcl\4.1
                                                                  State & Zip Code                   \   C\ CJlo ':+-

Defendant No. 4                                                   Name     Vl 'cfuyl Ac
                                                                  Street Address     \..QbO :TD~
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                                                                  County, City       \.J fA if (\ \t.A.1
                                                                  State & Zip Code       \   f26'.       \q 'clo l


II.                                 Basis for Jurisdiction:

Federal courts are courts of limited jurisdiction. Only two types of cases can be heard in federal court: cases
involving a federal question and cases involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a
case involving the United States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. §
1332, a case in which a citizen of one state sues a citizen of another state and the amount in damages is more than
$75,000 js-lrttfV;rsity of citizenship case.
                         ,,,..#'"            !

A / /~is the basis for federal court jurisdiction? (check all that apply)
~. l_.9/rederal Questions              Q Diversity of Citizenship
      .............. "

B.                                  If the basis for jurisdiction is Federal Question, what federal Constitutional, statutory or treaty right is at

                                    issue?        '~            ~~\0\(."'y,_,-f,~ ,)Jdhl'd (}[)
                                                 i, A.}._.,\   6' A» °'-.be '\A.:k ... l l J i S cert-- CA. Li cW(d 9o


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            C.        If the basis for jurisdiction is Diversity of Citizenship, what is the state of citizenship of each party?

                                                                             =-_ft__,__·- - - - - - - - - - - - - -
                      Plaintiff(s) state(s) of citizenship _ _ _ ___.l==""'lS,,.,

                      Defendant(s) state(s) of citizenship -----"'~=-..::l:..>.S
                                                                              ...'-"--P\--'----------------
            III.      Statement of Claim:

            State as briefly as possible the facts of your case. Describe how each of the defendants named in the caption of this
            complaint is involved in this action, along with the dates and locations of all relevant events. You may wish to
            include further details such as the names of other persons involved in the events giving rise to your claims. Do not
            cite any cases or statutes. If you intend to allege a number of related claims, number and set forth each claim in a
            separate paragraph. Attach additional sheets of paper as necessary.

            A.        Where did the events giving rise to your claim(s) occur?   D\f (' ~                Cl::\- ~ l ~ Vl \ l4-)s<.
            at :florcv\                ~\e in                  M~-°' _;?.~I ·zo\t:p
            B.        What date and approximate time did the events giving rise to your claim(s) occur? _ _ _ _ _ __
             b\6\,{ c.b d-\ 1·2-0\ lp -                              &p.; ~\ \:6 \ 2-0\ lo

  What
            c.
happened
 to you?




   Was
  anyone
   else
involved?




Who else
saw what
happened?




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                                                #17-cv-231 Judge Quinn



 In March 2016 Spring Village at Floral Vale had listed open opportunities of
employment ,and that they were holding group interviews for cna meaning
certified Nursing assistant. I was informed by an employment notice which was
listed on jobs matching my skills from Careerlink including Indeed about the
various openings and date of open interviews. I called but did not allow the
operator to inform that I had a hearing loss to find out what shifts they had full
time openings in. When I learned from receptionist that they had all shifts and all
positions and were hiring and holding a group interview in a week I went in.

 When I went to the group interview there were about 6 other applicants we all
were told where the meeting was in the great living room we sat at tables filled out
applications. Shortly members, heads, supervisors, directors from all the
departments showed up at the meeting we were all fine we were asked questions
such as what positions we were applying to what are names were and given
information regarding Spring Village at Floral Vale when suddenly while meeting
was taking place a woman who was wearing a cast on her leg and foot at the time
who had crutches( Callista Oberhaltzer Caucasian female Admissions Director)
Picture provided of the women) who was slowing going through the room looking
around looked at me began angrily saying "hey hey get up get up stand up" I
looked at where she was pointing nobody was in the direction except me. A few
candidates told me she was talking to me and I stood up. Callista Oberhaltzer
said" She is Deaf' while pointing at me and shaking her finger. (as if when
somebody has a gun and is shooting at someone). The Executive Director Deb
Bodnar asked me what was my name I said it softly not loud enough another staff
asked Deb Bodnar Executive Director caucasian female at the time said what is
her name again so I said it again softly and I sat back down most of the staff
began writing my name down. I was trembling but I managed to stay and try and
get a job. I went through everything the full process a member showed us around
the building. I then went on to the job interview part I met with Kenyatta Davis,
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                                                                17CV231


who informed me that she had to ask her supervisor if she could have me working
here I said okay and was dismissed. (Same day as of group interviews)

I received another call from Kennyetta Davis (African American Female) she gave
me a second interview.Interviewed me then offered me the job, however she
didn't give me a start date at all she stated she would call me by Monday to inform
me what date I was to start I was happy and said okay and thanked her.However I
did not hear from Kennyetta Davis at all until 3/31/16 on voicemail.

On 3/31/16 I received a call from Spring Village the machine was retrieved that call
came from Kennyatta Davis who had called me regarding employment who I was
expecting a call from to start position. I called back on the same day Victoria
questioned me as to who called me I informed her that I received a call from
Kennyatta (Black female) she stated oooh Kenetta then she stated Kennetta went
home for the day however each time I called including the first time Kennetta
would always talk to me harshly she had a rude tone in her voice. I called the next
business day including other days. I continued to call on the bussiness days until
Victoria Cuervas stated on 4/13/16 that Kennetta already knows that I called and
that she was not going to give Kennyetta any more messages! Okayyyyyyyyy!! !
Then she hung up.



I am truly wanting respect I was discriminated from doing work because I have a
hearing loss which is labeled as hearing impairment now Hard of hearing I am
fully capable of doing the work and all works listed available such as Cna,
Housekeeping, Food service, (prep cook) Laundry aide. These jobs are always
listed open at Spring Village at Floral Vale even today they are available. I hold
experiences in every position, but I hold education in Food Service and Cna. I can
do any job and can do Cna certified Nursing assistant well I only would need
special accommodation for the training portion of the job which would be a sign
language interpreter or job coach with sign language skills. Vocation
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Rehabilitation know as OVR a governmental agency would have been very
assistive they can and will and have provided me with hearing aids, temporary
accommodations to support with getting and holding a job including a job coach
who is very assistive. I only require special accommodations for the training of
the job then I would be able to learn each residents needs, ways plan for each
individual. I can do the work well and have had a cna since July 2004 till now this
is how I had my Cna from 2004 till now. You must have worked in order to hold a
Cna license, my license is still in effect. There is nothing at Spring Village at Floral
Vale that I do not know how to do or cannot do with training provided and
temporary special accommodation in which the employer could have provided
rather than opting out of offering me work just because I had a hearing loss.

I have never heard back from Kennyetta Davis and calls were not returned. The
directors were in the room when I was being discriminated openly by Callista
Oberholtzer I never had a problem with Callista 0. who had been very angry that
I was trying to work and was deaf ,no one had a problem with Callista 0.
discriminating me in front of everyone and singling me out nothing was being
done about it. I knew my rights and I knew I could do the job so I stayed to try and
gain employment.

 EEOC has found the violations by proper investigation EEOC as well as myself
have tried to council with the employer including their attorney Mr. Brian. W
Waerig Esq. Which has failed I was given the rights to sue notice in which I bring
to the attention ofU.S Federal Court.
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                                                            Judge Quin 17cv231

In this I am requesting loss wages, attorney fees, court fees, punitive damages,
anger, stress, hurt, sufferings, inability to pay my bills. I request employer be
made to pay $13.9 million including attorney fees and court fees.
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 IV.       Injuries:


If you sustained injuries related to the events alleged above, describe them and state what medical treatment, if any,




V.         Relief:


State what you want the Court to do for you and the amount of monetary compensation, if any, you are seeking, and




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I declare under penalty of perjury that the foregoing is true and correct.


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                                                               (_//
                                              Signature of Plain~=-=--/,--:-:=-----,,-..,---+1-;-:;;ry,;f-t~--=::::r:::::
                                              Mailing Address    t--+-_,_"°-t::,,.£-.1--,,---+"';;;-'---J*+.;:.__.,_.,.""'-_,___,,,,=---




Note:     All plaintiffs named in the caption of the complaint must date and sign the complaint. Prisoners must also
          provide their inmate numbers, present place of confinement, and address.


For Prisoners:

I declare under penalty of perjury that on this _ _ day of                                , 20_ _, I am delivering
this complaint to prison authorities to be mailed to the Clerk's Office of the United States District Court for the
Eastern District of Pennsylvania.



                                                 Signature of P l a i n t i f f : - - - - - - - - - - - - - - - -
                                                       Inmate Number
                                                                           ----------------




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                                                                                            Spring Village at Floral Vale - A
                                                                                        ··· Woodbine Senior living Community
                                                                                             Like This Page · March 13, 2015 ·



                                                                                    With Callista Grace Oberholtzer.




                                                                                    Georgene Frey, Anne Marie Porcelli, Consuela Alelia Melendez
                                                                                    and 13 others like this.

                                                                                           Josephine Rigos You look fantastic and so young
                                                                                           looking.
                                                                                              1 ·March 13, 2015 at 10:11am

                                                                                               1 Reply

                                                                                           Spring Village at Floral Vale.-A Woodbine Senior
                                                                                           Living Community Thanks, Jo ... hope all is well with
                                                                                           you.
                                                                                           March 13, 2015 at 12:37pm

                                                                                           Donna LaRotonda Great picture! See you soon:)
                                                                                              1 ·March 13, 2015 at 1:39pm

                                                                                               1 Reply

                                                                                    '"~~   Elaine Rita Looking good girt!
                                                                                    U         1 ·March 13, 2015 at 6:51pm




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                                                                                                               Spring Village at Floral Vale ~A
                                                                                                               Woodbine Senior Living Community
                                                                                                               Like This Page · September 23, 2014 ·



                                                                                                     Deb Bodnar, Executive Director of Spring Village at
                                                                                                     Floral Vale is pictured among her dad's Veteran
                                                                                                     memorabilia during our recent "Celebrating Our
                                                                                                     Veterans' Journeys" to benefit the Wounded warriors.




                                                                                                     Britt O'Brien, Pat Gerrity and 9 others like thls.




           Tlmellne Photos




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WoodBine Senior Living I Home                                      http://www.woodbmesemorllvmg.com/ tocanons.nmu
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Spring Village At Floral Vale Jobs, Employment in Philadelphia, PA                           I ...         https://www.indeed.com/jobs?q=spring+village+at+floral+vale&l=Phi. ..
                             Case 2:17-cv-00231-NIQA Document 4 Filed 02/13/17 Page 15 of 15
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                                              spring village at floral vale                              Philadelphia, PA                               I Find Jobs              Advanced Job Search

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          Sort by: relevance - date          Spring Village at Floral Vale - Yardley, PA 19067

                                             ~~r~~h~i~l~ge at Floral Vale, a memory care facility, is seeking to hire a
                                             Laundry Aide to be responsible for the following: ....
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         Part-time (3)                     Spring Village at Floral Vale - Yardley, PA 19067

         Location
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         Company
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         Spring Village at Floral Vale (5)

         Experience Level
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                                             Care Manager/CNA
                                                                                                                                                          ne_ rfr
                                          S~ng Village at Floral Vale - Yardley, PA 19067
                                          $24,000 a year                                                                                                   j_~ L (
                               ib ,     /The Care Manager/CNA is responsible f.or providing the highest degree of
                               'V /       quality care and services to a consistent group of residents and their
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                                             Housekeeper
                                             Spring Village at Floral Vale - Yardley, PA 19067
                                             $9 - j.'Wiln hour



                              v/
                                             Jtfe Housekeeper is responsible for performing housekeeping functions in
                                             our community in order to create a safe, secure, and inviting environment
                                             for residents,...                 e::_-(¢1.. ((_- S,'
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                                   /,...-·Responsible for providing food for 50 residents at Memory Care Facility to
                                I'/        include three meals and two snack socials per day while maintaining
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                                              Never miss a job. Get new jobs emailed to you daily.



                                                 Get email updates for the latest spring village at floral vale
                                             jobs in Philadelphia, PA

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